                              UNITED STATES BANKRUPTCY COURT
                                                          Western District of Washington (Seattle)
In re Julian Flores                                                                                               Case No. 11-20512
      Debtor                                                                                                      Chapter 13
Notice of Mortgage Payment Change

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to § 1322(b)(5), you must use this
form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days before the new
payment amount is due. See Bankruptcy Rule 3002.1.

 Name of creditor: Wells Fargo Bank, N.A.                                                      Court claim no. (if known): 3
                                                                                         Date of payment change:
 Last four digits of any number you                                                      Must be at least 21 days after date of this notice
                                                                                                                                               07/15/2013
 use to identify the debtor's account:           6863
                                                                                         New total payment:                                    $2,782.75
                                                                                         Principal, Interest, and escrow, if any
 Uniform Claim Identifier:


Part 1: Escrow Account Payment Adjustment
   Will there be a change in the debtor's escrow account payment?
        No
        Yes.   Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                  Describe the basis for the change. If a statement is not attached, explain why:



                        Current escrow payment:             $0.02                              New escrow payment:            $1,412.48

Part 2: Mortgage Payment Adjustment
   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?
        No
        Yes.      Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                  If a notice is not attached, explain why:



       Current interest rate:                                                            New interest rate:
       Current principal and interest payment:                                           New principal and interest payment:

Part 3: Other Payment Change
   Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
        Yes.     Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                 modification agreement. (Court approval may be required before the payment change can take effect.)
       Reason for change:


                    Current mortgage payment:                                                         New mortgage payment:




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Part 4: Sign Here
  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
  number if different from the notice address listed on the proof of claim to which this Supplement applies.
  Check the appropriate box:
      I am the creditor.          I am the creditor's authorized agent.
                                  (Attach a copy of power of attorney, if any.)

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information,
  and reasonable belief.

        /s/ Donna Harris                                                              Date 06/14/2013
        VP of Loan Documentation




 Print: Donna Harris                                                                  Title   VP of Loan Documentation


 Company     Wells Fargo Mortgage                                                     Specific Contact Information:
 Address     A/K/A Wachovia Mortgage                                                  P: 210-624-5767
             4101 Wiseman Blvd                                                        E: NoticeOfPaymentChangeInquiries@wellsfargo.com
             San Antonio, TX 78251




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                            UNITED STATES BANKRUPTCY COURT
                                              Western District of Washington (Seattle)
                                                                            Chapter 13 No. 11-20512
 In re:                                                                     Judge: Timothy W Dore

 Julian Flores

                                                   Debtor(s).


                                                    CERTIFICATE OF SERVICE
 I hereby certify that on June 14, 2013, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage pre paid, or
 via filing with the US Bankruptcy Court's CM ECF system.

 Debtor:                    Julian Flores
                            30845 10th Ave SW
                            Federal Way, WA 98023



 Debtor's Attorney:         Clayton W Cook-Mowery
                            Advantage Legal Group
                            12207 NE 8th St



 Trustee:                   K Michael Fitzgerald
                            600 University St ;2200
                            Seattle, WA 98101




                                                                            /s/ Bill Taylor
                                                                            Authorized Agent




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